
USCA1 Opinion

	




                                ____________________
          Nos. 96-1145
               97-1037
                                    MALEK AHMED,
                                Plaintiff, Appellant,
                                         v.
                JON ROSENBLATT, CAROL ROSENBLATT, CHARLES GREENWOOD,
                  IRWIN LOFT, MORTGAGE GUARANTEE TITLE COMPANY, AND
                                   WILLIAM LARSON,
                               Defendants, Appellees.
                                ____________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND
                [Hon. Raymond J. Pettine, Senior U.S. District Judge]
                                ____________________
                                       Before
                                Selya, Circuit Judge,
                            Coffin, Senior Circuit Judge,
                              and Lynch, Circuit Judge.
                                ____________________
               Kevin McBurney for appellant.
               Melissa E. Darigan for appellee Mortgage Guarantee and Title
          Company.
               Christopher M. Orton  with whom Francis  X. Flaherty was  on
          brief for appellee Charles Greenwood.
                                ____________________
                                    July 14, 1997
                                 ___________________

               COFFIN, Senior Circuit Judge.  Malek Ahmed ("Ahmed") appeals
          the 
             district 
                      court's grant of summary judgment for the defendants,
          who he maintains conspired to deprive him of property he owned in
          Providence, Rhode Island.1   Specifically,  Ahmed challenges  the
          dismissal  of  his claims  under  the  Racketeering  and  Corrupt
          Organizations  Act  ("RICO"),  arguing  that  his  complaint  was
          sufficiently detailed to establish  fraud when given the  lenient
          reading he should have been afforded as a pro se plaintiff.  In a
          related 
                 appeal, 
                        Ahmed 
                              contends that the district court erred in not
          setting  aside the dismissal  under Rule 60(b).   We affirm  both
          judgments.
                                      I.  FACTS
               We recite the facts in the light most favorable to the
          plaintiff, the non-moving party.  See McEvoy Travel Bureau, Inc.
          v. Heritage Travel, Inc., 904 F.2d 786, 787 (1st Cir. 1990). 
          However, we must emphasize that while Ahmed would prefer us to
          assess this case and the underlying facts on the basis of the
          Amended Complaint he has submitted on appeal, we are limited in
               1    The 
                       original 
                               named 
                                     defendants in this case were:  Charles
          Greenwood ("Greenwood"), an attorney who represented Ahmed in the
          transactions at issue; Irwin Loft ("Loft"), a potential purchaser
          and  agent for  and principal  of Capital  Center Associates  Six
          ("CCAS"), a corporate entity and co-defendant; William T.  Larson
          ("Larson"), 
                     another 
                            potential purchaser; Mortgage Guarantee &amp; Title
          Company 
                 ("MGT"), and Jon and Carol Rosenblatt ("the Rosenblatts").
          Ahmed's claim against  the Rosenblatts  was dismissed  separately
          earlier.  
                                         -2-

          our review to the record below, and specifically to the complaint
          that was filed with the district court.2  See Fed. R. App. P. 10.
               The facts of this case concern various transactions relating
          to property held by Ahmed at 47 Maple Street ("47 Maple") in
          Providence.  Ahmed initially entered into a purchase and sale
          agreement with one William Larson in October of 1988, contingent
          upon Larson obtaining financing.  Ahmed retained defendant
          Charles Greenwood to represent him in the transaction, and
          received a $5,000 deposit from Larson which he gave to Greenwood
          to hold in escrow.  On October 20, 1988, Larson notified Ahmed
          that he had been unable to obtain financing; Ahmed asserts that
          he then requested Greenwood to return Larson's deposit, but that
          this was not done until December 20.  
               On December 16, Ahmed entered into a second purchase and
          sale agreement for 47 Maple, this time with Irwin Loft/CCAS.3 
          Ahmed again was represented by Greenwood,4 and he received a
          $25,000 deposit from Loft.  On December 19, the first potential
          purchaser, Larson, recorded his agreement.  On December 23, Loft
          requested that defendant MGT place a lien on Maple Street in
          order to secure his deposit.  
               2    We therefore consider the amended complaint only in the
          context of the Rule 60(b) motion.
               3    This contract  contained an extension  of the time  for
          performance to August 1, 1989.  Ahmed contends that his signature
          on this extension was forged.  
               4    Some 
                        time 
                             after this meeting, Loft retained Greenwood to
          represent him in an unrelated eviction proceeding.
                                         -3-

               On March 8, 1989, shortly before the closing between Ahmed
          and Loft/CCAS, Loft gave Ahmed an additional $30,000.  The
          closing itself occurred on March 14, but was followed the next
          day by the filing of a lis pendens by Larson, based on his
          earlier agreement with Ahmed.  This lien was discovered by MGT,
          which informed Ahmed that the closing with Loft would be voided
          as a result.  Larson then sued Ahmed for specific performance. 
               On July 12, Ahmed executed in favor of Loft a number of
          documents denominated "Promissory Note Secured by Mortgage,"
          relating to 47 Maple and several other properties.  He maintains
          that he thought these were just receipts for the moneys he had
          received from Loft,5 though Loft contends that the documents were
          intended to create security for the money he had given to Ahmed. 
          Loft unsuccessfully attempted to foreclose on these notes for
          non-payment by Ahmed in 1991 and 1992, and then transferred them
          to Jon and Carol Rosenblatt on April 17, 1993.  Ahmed
          subsequently brought suit on February 17, 1995, alleging that the
          above incidents were all part of a scheme concocted by the
          defendants to defraud him of his interest in 47 Maple and the
          related properties.  
               A magistrate judge issued a report and recommendation that
          Ahmed's complaint be dismissed, saying that Ahmed had failed to
          plead predicate acts, pattern, and enterprise, as required for
          the RICO claim.  Judge Pettine subsequently accepted these
               5    On 
                      July 
                           12, 
                               1989, Loft gave Ahmed an additional $30,000,
          bringing the total amount he had paid to $85,000.
                                         -4-

          recommendations, stating in his order that Ahmed had failed to
          plead sufficient facts to establish instances of mail and wire
          fraud, a pattern of racketeering activity, or the existence of an
          enterprise affecting interstate commerce.  Judge Pettine further
          found that Ahmed was afforded appropriate leniency as a pro se
          litigant.  Ahmed sought relief under Rule 60(b), claiming the
          district court erred in dismissing his complaint, but the
          district court rejected this.  Ahmed appeals both the original
          judgment and the denial of his post-judgment motion.
                               II.   The First Appeal.
               Ahmed raises three claims in his challenge to the district
          court's grant of summary judgment.  Our review is plenary. 
          Feinstein v. Resolution Trust Corp., 942 F.2d 34, 34 (1st Cir.
          1991).
          A.   Dismissal of the RICO claim.
               Ahmed argues that the district court wrongly concluded that
          he failed to plead sufficient facts to demonstrate a RICO
          violation.  We begin by briefly reviewing the well established
          requirements for such a claim.
               A RICO plaintiff must allege a pattern of racketeering
          activity involving at least two predicate acts, the second of
          which must occur within 10 years of the first.  18 U.S.C. S
          1961(5).  Predicate acts under this statute are acts indictable
          under any one or more of certain specified laws, including the
          mail and wire fraud statutes.  See Feinstein, 942 F.2d at 42; see
          also McEvoy, 904 F.2d at 788.  Furthermore, a RICO plaintiff must
                                         -5-

          allege the existence of an enterprise, which the statute defines
          as including: "any individual, partnership, corporation,
          association, or other legal entity, and any union or group of
          individuals associated in fact although not a legal entity."  18
          U.S.C. S 1961(4).  Ahmed's complaint fails to establish any of
          these three requirements with sufficient detail to survive
          summary judgment.  
               Turning first to predicate acts, we previously have noted
          "[i]t is not enough for a plaintiff to file a RICO action, chant
          the statutory mantra, and leave the identification of predicate
          acts to the time of trial."  See Feinstein, 942 F.2d  at 42. 
          Ahmed's pleading contains only the bald assertion that the
          defendants (unspecified) used the U.S. mails to fraudulently
          convey their interests in Ahmed's properties, that the defendants
          (again unspecified) used the U.S. Postal Service by mailing
          unspecified materials, and that the defendants used wire
          communications.
               Despite well settled law in this circuit that RICO pleadings
          of mail and wire fraud must satisfy the particularity
          requirements of Rule 9(b), see Feinstein, 942 F.2d at 42; New
          England Data Services, Inc. v. Becher, 829 F.2d 286, 290 (1st
          Cir. 1987),  and that  under 9(b), a pleader must state the time,
          place and content of the alleged mail and wire communications
          perpetrating that fraud, see Becher, 829 F.2d at 291, Ahmed's
          complaint supplies no times, places, or contents.  The record is
          similarly devoid of evidence which would support Ahmed's
                                         -6-

          contentions.  He has therefore failed to show the required
          predicate acts.  
               Failure to plead predicate acts adequately is enough to sink
          his RICO claim.  We nonetheless briefly consider the other RICO
          elements.  Following the Supreme Court's lead in H.J., Inc. v.
          Northwestern Bell Tel. Co., 492 U.S. 229, 238 (1989), we have
          held that a plaintiff seeking to establish a RICO "pattern" must
          show that the predicate acts are related and that they amount to
          or pose the threat of continued criminal activity (the
          "continuity" requirement).  See Feinstein, 942 F.2d at 44; see
          also McEvoy, 904 F.2d at 788. 
               In order to demonstrate relatedness, the predicate acts must
          have the same or similar purposes, participants, victims, or
          methods, or otherwise be interrelated by distinguishing
          characteristics and not be isolated events.  See Feinstein, 942
          F.2d at 44; see also Fleet Credit Corp. v. Sion, 893 F.2d 441,
          445 (1st Cir. 1990).  Ahmed's minimal assertions do not permit us
          to realistically assess the purposes, participants, or methods of
          the alleged acts to determine their relatedness.   
               In supporting the continuity prong of the pattern
          requirement, a plaintiff must show either that the related
          predicates "amounted to" continued criminal activity or that
          there was, even though the predicate acts did not span a
          significant time, a "threat" or realistic prospect of continued
          activity in time yet to come.  See Feinstein, 942 F.2d at 45. 
          Here, absent sufficient allegations of both predicate acts and
                                         -7-

          relatedness, the "amounted to" threshold has not been reached. 
          Similarly, the "threat" approach is unavailable; there is no
          allegation that, after the attempted foreclosure, such conduct
          was an ongoing entity's way of doing business.
               Finally, on the enterprise element, Ahmed fails to allege
          that the defendants were together part of any legal entity, and
          again, the complaint's mere allegation that an enterprise existed
          does nothing to support that claim or demonstrate how the
          defendants were purportedly associated in fact.  We therefore
          must conclude that Ahmed failed to make his case on this point as
          well.  
               Because Ahmed failed to establish any of the three necessary
          elements of a RICO claim, the district court properly dismissed
          his complaint.  
          B.   The Becher second determination.
               Ahmed attempts to resuscitate his claim under the "second
          determination" approach we adopted in Becher, 829 F.2d at 290. 
          We said there that Rule 9(b) has a special gloss in the RICO
          context in cases where a plaintiff's specific allegations make it
          likely that a defendant has used interstate mails or wire, and
          where this information is in the exclusive control of the
          defendant:  before granting a motion to dismiss, a district court
          should make a second determination as to whether further
          discovery is warranted and, if so, the plaintiff should be
          provided with the opportunity to amend the complaint after the
          completion of this discovery.  See id.  Ahmed contends that the
                                         -8-

          magistrate judge and the district court judge erred in not
          conducting such a second determination.  We disagree.
               We must stress again that the application of the 
          second determination is neither automatic, nor of right, for
                                Feinstein
                                                                Becher
          every plaintiff.  See          , 942 F.2d  at 44.  Furthermore,
          not every use of the mails or wires in furtherance of an unlawful
          scheme to deprive another of property constitutes wire or mail
          fraud.  See McEvoy, 904 F.2d at 791.  Ahmed failed to supply
          specific allegations which would indicate that critical
          information was in the sole possession of the defendants, and
          hence that further discovery or the opportunity to amend his
          complaint was warranted.6  Ahmed therefore was not entitled to a
          Becher second determination.   
          C.   Pro se leniency.
               Finally, Ahmed contends that he should have been accorded
          greater leniency due to his pro se status.  Our judicial system
          zealously guards the attempts of pro se litigants on their own
          behalf.  We are required to construe liberally a pro se complaint
          and may affirm its dismissal only if a plaintiff cannot prove any
          set of facts entitling him or her to relief.  See Rockwell v.
          Cape Cod Hosp., 26 F.3d 254, 255 (1st Cir. 1994).  However, pro
          se status does not insulate a party from complying with
               6    Much 
                        of 
                          Ahmed's 
                                  "support" for his contentions of fraud in
          his original complaint consists of conclusory statements  without
          any 
             supporting 
                        data. 
                              
                              His brief on appeal suffers from a different,
          though related,  ailment,  in that  it  attempts to  draw  causal
          relationships through positing  rhetorical questions to which  it
          then 
              supplies 
                      self-serving answers, again with little or no support
          from the documents in the record.
                                         -9-

          procedural and substantive law.  See 
          United States Dep't. of Commerce
          1994).  The policy behind affording pro se plaintiffs liberal
          interpretation is that if they present sufficient facts, the
          court may intuit the correct cause of action, even if it was
                                               Eagle Eye Fishing Corp. v.
                                          , 20 F.3d 503, 506 (1st Cir.
          imperfectly pled.  This is distinct from the case at hand, in
          which the formal elements of the claim were stated without the
          requisite supporting facts.
               Ahmed's pro se status was clearly recognized by both the
          magistrate judge and district court:  the magistrate judge noted
          in his report and recommendation that Ahmed was proceeding pro
          se, while Judge Pettine's order specifically recognized that
          Ahmed was pro se and that his complaint was therefore to be
          construed liberally.7  However, Judge Pettine also stated that
          even under a liberal interpretation of his complaint, Ahmed
          failed to adequately allege the elements of a RICO violation.  We
          agree.
                       III.   The Second Appeal:  Rule 60(b).
               We now turn to Ahmed's claim that the district court erred
          in dismissing his claim for relief under Rule 60(b).  We begin
          with a short synopsis of the procedural history of this second
          part of the appeal.
               7    We 
                      also 
                           note 
                               that 
                                    Ahmed 
                                          was briefly represented by Arthur
          Chatfield, III, who filed a supplemental objection to  Magistrate
          Judge Lovegreen's report and recommendation on October 10,  1995,
          prior to  Judge Pettine's Order  adopting the  same.   Therefore,
          although 
                  we 
                    have 
                         assessed Ahmed's claim under the liberal standards
          appropriate to a pro se plaintiff, it appears he was not entirely
          bereft of benefits of counsel during this process.
                                        -10-

               Ahmed's original appellate brief was filed with this court
          on June 7, 1996.  Before defendants had filed their briefs, Ahmed
          filed a motion to amend his complaint and filed an amended
          complaint with the circuit.  We denied his motion, and ordered
          that any request to amend be presented to the district court. 
          Ahmed therefore filed a motion to reopen, reconsider, and rehear
          in the district court under Rule 60(b).  At the district court's
          request, we remanded to permit the 60(b) motion to go forward,
          whilst retaining jurisdiction over the original appeal and
          staying proceedings on it.  
               The defendants filed timely objections, and a hearing was
          held by the magistrate judge, who denied plaintiff's motion on
          the ground that he had failed to meet Rule 60(b)'s criteria.  He
          specifically found that the amended complaint, though longer and
          more detailed than that originally filed by Ahmed, was in
          substance the same.  He also found that exceptional circumstances
          were not present in this case, and that, due to the amount of
          time that had passed since judgment was rendered, it would be
          prejudicial to the defendants to assume the burden of defending
          the case at that point.   Ahmed objected to this order; Judge
          Pettine affirmed it.  Ahmed then appealed that denial to this
          circuit, where it was consolidated with his earlier appeal.  
               Our review of the denial of a motion under Rule 60(b) is for
          abuse of discretion.  See Hoult v. Hoult, 57 F.3d 1, 3 (1st Cir.
          1995).  Our review is limited to the denial of the 60(b) motion,
          not the merits of the underlying judgment.  See id.  We will find
                                        -11-

          an abuse of discretion only when we are left with a definite and
          firm conviction that the lower court committed a clear error of
          judgment in the conclusion it reached when weighing all the
          relevant factors.  See United States v. Boch Oldsmobile, Inc.,
          909 F.2d 657, 660 (1st Cir. 1990).  Such is not the case here.  
               Ahmed raises claims under both Rule 60(b)(1) and 60(b)(6)
          and we discuss these separately.  
          A.   Rule 60(b)(1).
               Ahmed first contends that the lower courts committed a
          "mistake" under Rule 60(b)(1) in not according him a second
          determination under Becher prior to dismissing his complaint
          under Rule 12(b)(6).8  As discussed above, Ahmed was not entitled
          to a Becher second determination because he failed to allege
          specific facts which would require the district court to initiate
          additional proceedings.  However, even if this were not the case,
          Ahmed's claim on this point would still fail:  in this circuit,
          wrongly deciding a point of law is not a "mistake" as we have
          defined that term under Rule 60(b)(1).  See Hoult, 57 F.3d at 5;
          see also Silk v. Sandoval, 435 F.2d 1266, 1267-68 (1st Cir.
          1971).
               8    Rule 60(b)(1) permits a court to relieve a party from a
          final judgment, order  or proceeding for "mistake,  inadvertence,
          surprise, or excusable neglect...."
                                        -12-

          B.   Rule 60(b)(6).
               Ahmed next claims that he is entitled to relief under Rule
                                           Rule 60(b)(6) motions should be
          extraordinary relief exist.  See Valley Citizens for a Safe
          Environment v. Aldridge, 969 F.2d 1315, 1317 (1st Cir. 1992). 
          Under the Federal Rules, district courts have broad discretion to
          determine whether such circumstances exist.  See id. 
          Additionally, a 60(b)(6) movant must make a suitable showing that
          the movant has a meritorious claim.      Cotto
          60(b)(6), the catchall clause.9
          granted only where exceptional circumstances justifying
                                               See       v. United States,
          993 F.2d 274, 280 (1st Cir. 1993).
               While we have no doubt that Ahmed has experienced a
          disquieting set of reversals and possible breaches of faith with
          various parties, he simply has been unable to demonstrate a
          colorable claim under RICO.  There has been no showing, beyond
          counsel's hyperbolic assertions, that extraordinary circumstances
          justifying such exceptional relief exist here.  In this
          situation, we are therefore loath to disturb the well reasoned
          decision of the lower court which had before it all the documents
               9    Rule 
                        60(b)(6) 
                                provides 
                                         that the court may relieve a party
          from a final judgment, order, or proceeding for "any other reason
          justifying relief from the operation of the judgment."
               Since 
                    Rule 
                         60(b)(6) is designed as a catchall, a motion under
          it is  appropriate only  when  none of  the first  five  sections
          pertain, and section (6) may  not be used as means to  circumvent
          those five preceding sections.  See Simon v. Navon, No.  96-2314,
          slip op.  at 10  (1st Cir.  June 2,  1997).   Ahmed is  therefore
          analytically 
                      inconsistent
                                  in seeking relief under both sections (1)
          and 
             (6), 
                  for 
                      if relief is hypothetically appropriate under section
          (1), then it should not be sought under section (6) as well.
                                        -13-

          we have now reviewed, as well as the parties and their counsel,
          and as such was in a superior position to make a determination on
          this issue.    
               As the Supreme Court noted in           v. United States,
          340 U.S. 193, 211-12 (1950), in affirming the denial of a 60(b)
          motion, "[t]here must be an end to litigation someday...."  That
          day has arrived for this particular case.  Both judgments of the
          district court are affirmed.10
                    MGT maintains in its brief on appeal that Ahmed's  RIC
                                             Ackermann
               10                                                         O
          claim is barred by the four year statute of limitations for  such
          actions; since we have affirmed the district court's dismissal of
          this 
              claim 
                    on the ground that Ahmed did not sufficiently plead the
          RICO 
              claim, 
                     we do not address the statute of limitations argument.
                                        -14-


